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                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                Eastern Division

G. Neil Garrett, D.D.S., P.C.
                                               Plaintiff,
v.                                                          Case No.: 1:15−cv−05349
                                                            Honorable Charles R. Norgle Sr.
Renaissance Systems and Services, LLC, et
al.
                                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, August 24, 2015:


       MINUTE entry before the Honorable Charles R. Norgle: Plaintiff's individual
claims against Defendant are dismissed with prejudice, and with each party bearing its
own costs. Plaintiff's class claims are dismissed without prejudice and with each party
bearing its own costs [26]. Civil case terminated. Mailed notice(ewf, )




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